AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet I



                                             UNITED STATES DISTRICT COURT
                                                          Eastern District of North Carolina
                                                                            )
               UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                     V.                                     )
                    JESSE JAMES FREEMAN                                     )
                                                                            )       Case Number: 5:20-CR-377-M
                                                                            )       USM Number: 17021-057
                                                                            )
                                                                            )        Diana H. Pereira
                                                                            )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)              1 of the criminal information
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty .

The defendant is adjudicated guil ty of these offenses:

Title & Section                     Nature of Offense                                                        Offense Ended
16 U.S.C . § 3372(a)(1) ,           Lacey Act Trafficking Violation                                          9/30/2018

16 U.S.C . § 3372(a)(2)(A) ,

16 U.S.C . § 3373(d)(1)(B)

       The defendant is sentenced as provided in pages 2 through           _ _8_ _ of thi s judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
D Count(s)                                                  Dis      D are dismissed on the motion of the United States.
                 -------------
         It is ordered that the defendant must notify the United States atto rney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assess ments imposed by thi s j udgment are fully paid. Ifordered to pay restitution,
the defenaant must noti fy the court and United States attorney of material changes in economic circumstances.

                                                                                                           5/25/2022




                                                                           Signature of Judge                              ---
                                                                                    Richard E. Myers II , Chief United States District Judge
                                                                           Name and Title of Judge




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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment- Page     2      of       8
 DEFENDANT: JESSE JAMES FREEMAN
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                                                             IMPRISONMENT
           The defendant is hereby comm itted to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                18 months




      ~ The court makes the following recommendations to the Bureau of Prisons:
           The court recommends the defendant receive a mental health assessment and treatment as well
           as a medical evaluation . It is also recommended that the defendant be placed at FCI Butner or
           facil ity close to family.

      D The defendant is remanded to the custody of the United States Marshal.

      D   The defendant shall surrender to the United States Marshal for this district:

           D at                                  D   a.m .    D   p.m.     on
                    ---------
           D as notified by the United States Marshal.

      ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on
          [it as notified by the United States Marshal. The surrender date shou ld be at least 120 days after this judgment is filed.
           D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as fo llows:




          Defendant delivered on                                                          to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                        Judgment-Page _ _ _ of
DEFENDANT: JESSE JAMES FREEMAN
CASE NUMBER: 5:20-CR-377-M
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 3 years




                                                      MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not un lawfully possess·a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    li1f You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                              Judgment-Page _ _ _ _ _ of _ _ __ __
DEFENDANT: JESSE JAMES FREEMAN
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior whi le on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2.  After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5.  You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least IO
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8.  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a fe lony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (incl uding an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must fo llow the instructions of the probation officer related to the conditions of supervision .



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the cond itions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions , available at: www. usco urts.gov.


Defendant's Signature                                                                                   Date
                                                                                                               - - - - -- - -- - - - -




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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 30 - Supervised Release
                                                                                            Judgment-Page __5___ of           8
DEFENDANT: JESSE JAMES FREEMAN
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                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall not own or possess any undocumented wildlife and may not remove wildlife from nature. He may
 engage in behavior that constitutes caring for wildlife under appropriate conditions and with the consent of his probation
 officer.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 add iction , drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may requ ire residence or participation in a residential treatment facility.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.

 The defendant shall submit to a search , at any time , with or without a warrant, and by any law enforcement or probation
 officer, of the defendant's person and any property, house, residence , vehicle , papers, computer, other electronic
 communication or data storage devices or media, and effects upon reasonable suspicion concerning a violation of a
 condition of supervised release or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of
 the officer's supervision functions.

 The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.

 The defendant shall provide the probation office with access to any requested financial information .




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AO 2458 (Rev. 09/19)   Judgment in a Cri minal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                 Judgment -   Page       6    of        8
DEFENDANT: JESSE JAMES FREEMAN
CASE NUMBER: 5:20-CR-377-M
                                                CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedu le of payments on Sheet 6.


                       Assessment               Restitution                     Fine                      AV AA Assessment*              JVTA Assessment**
TOTALS             $   100.00               $                             $     25 ,000.00            $                              $



D The determination of restitution is deferred until - - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination .

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority or~er or perc~ntage payment column below. However, pursuant to 18 U .S.C. § 3664(1), all nonfederal victims must be paid
       before the United States 1s paid.

Name of Payee                                                    Total Loss***                        Restitution Ordered            Priority or Percentage




TOTALS                               $                            0.00                $                         0.00
                                                                                          ----------

D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unl ess the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(g).

!ill   The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:

       Ill   the interest requirement is waived for the         !ill     fine     D   restitution .

       D the interest requirement for the           D    fine          D restitution is modified as follows :

* Amy, Vicky 1 ~nd Andy Child Pornograph_y Victim Assistance Act of 2018, Pub. L. No . 115-299.
** Justice for victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Fi ndings for the total amou nt oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 fo r offenses committed on
or after September 13, 1994, but before April 23, 1996.




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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet SA - Criminal Monetary Penalties
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                        ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Pursuant to 34 U.S.C. § 20101 (formerly 42 U.S.C. § 10601 (b)(1 )(a)(ii)) , all fines in Lacey Act cases should be directed to
 the Lacey Act Fund and made payable to "Lacey Act Reward Account":

 U.S. Fish and Wildlife Service
 Cost Accounting Section
 P.O. Box 272065
 Denver, CO 80277-9060




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AO 245B (Rev. 09/ 19)     Judgment in a Criminal Case
                          Sheet 6 - Schedule of Payments

                                                                                                                Judgment -   Page __JL_ of           8
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      D         Lump sum payment of$                                due immediately , balance due

                 D    not later than                                     , or
                 D    in accordance with    •    C,        D    D,   D    E, or    D F below; or

 B     l!'.'.l   Payment to begin immediately (may be combined with               DC,      D D, or    0 F below); or

 C     O         Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                               (e .g. , months or years), to commence
                                                                 _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

 D     D         Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                               (e.g. , months or years), to commence
                                                                 _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or

E      D         Payment during the term of supervised release wi ll commence within _ _ _ _ _ (e .g. , 30 or 60 days) after release from
                 imprisonment. The court wi ll set the payment plan based on an assessment of the defendant's abil ity to pay at that time; or

 F     liZI      Special instructions regarding the payment of criminal monetary penalties:
                  The special assessment in the amount of $100.00 shall be due in full immediately. Payment of the total fine in the
                  amount of $25,000 .00 shall be due in full immediately.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall recei ve credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several                 Corresponding Payee,
       (including defendant number)                              Total Amount                    Amount                           if appropriate




D      The defendant shall pay the cost of prosecution .

0      The defendant shall pay the following court cost(s):

0      The defendant shall forfeit the defendant' s interest in the followi ng property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal , (6) fine interest, (7) community restitution , (8) JV T A assessment, (9) penalties, and ( 10) costs, including cost of
prosecution and court costs.




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